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            EXHIBIT A
       State Court Pleadings
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                                        Case
                                           .,. 1:24-cv-05014-LMM                                                  Document_........
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                    Case 1:24-cv-05014-LMM                          Document 1-1                  Filed 11/01/24   Page 3 of 15



         'civil Action No.                                                                    Magisti:ate Court □
                                   ---------------
                                                                                              Superior Court    □
         Date Filed _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            State Court       □
                                                                                              Georgia, Gwinnett°County



         Attorney's Address
                                                                                                                                          Plaintiff
                                                                                                                    VS.




         Name and Address of party to be served.                                                                                        Defendant
                                                          /
                                                        I
                                                       i I


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                                                                   Sheriff's Entry Of Service

iii
C:

..i;io
Q)
a.
              I have this day served the defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ personally with a copy
              of the within action and summons.


              I have this day served t~e defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ by le_aving
VI
::I           a copy of the action and summons at his most notorious place of abode in this County.
 0
-~ □          Delivered same into hands of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _described as follows
0
z         age, about ---~ears; weight, about _ _ _ _pounds; height, about _ _ _feet and ____ inches; ·domiciled at
          the residence of defendant.

 C:                                                                      /   /   .. •
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              Served the defendant __
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 C.           by leaving a copy of the within action and summons with _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
-o            in charge of the office and place of doing business of said Corporation in this County.
u

              I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the
              premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States
              Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate
              postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the summons.



1ii           Diligent search made and defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
~□
0
              not to be found in the jurisdiction of this Court.
z
                                                          . ·,(, /
         This _ _ _ _ _ _ _ _ _ _day of./__,_·_;·_ __, 20_'-_,_·_.



                                                                                                                     Deputy

              Sheriff Docket._ _ _ _ __                       Page_ _ __
                                                                                                             Gwinnett County, Georgia

         WHITE: Clerk                      CANARY: Plaintiff/ Attorney                  PINK: Defendant

         SC-2 Rev.3.13
                        Case 1:24-cv-05014-LMM                                                                                Document 1-1                                            Filed 11/01/24      Page 4 of 15
                                                                                                                                                                                                           Fulton County Superior Court
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                                                                                                                                                                                                                   Che Alexander, Clerk




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                                                                                                                       SIJMMONS
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• TO THE ABOVE HAMED DEFENDANT(S}:

 You are hereby sum_rrroJ:=d and required to file ele"ctrouicaUy with the Cl'!rk of said Coun at
 httos://efih:ga.ty[ectech.<.'loud/OfsEfsp/ui/landi.o.g (ua.less you are ex:empt from filing e!ectroolcaUy) and
 serve upon plaintiff's attorney, whose aame and address is:
                            .,"'

                        .D A-tA.:cl\) e- b€LGJ ANTe
                         "gtc:> ~ · r ~ p t lllf ,J.J/aA~ <StA- 30365
An a!l.5wer to the complaJnt whicb is herewith served upon you, within. 30 days afcer service of th.is
summons upon yori, exc!bi·1e of the day of service; unless proof of service of this complaL'lt is not filed
,,,it~ five (5) business cl2.ys of such s.;:rvi,;e. Theo. time to ao..swer sha[! o.ot commeo.ce until sucb. proof of
s-;r-,ice has been. med. IT'fOU FAll., TO DO SO, JUDGiVIENT BY DEFAULT \YILL BE TA...T.(EN
AGAINST YOU FOR T_F"°_-~ RELIEF DEi:Yl~','DED L'iTHE CO~1PLAli'fT.
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This                                                              .t                day of                                                             20




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     Case 1:24-cv-05014-LMM           Document 1-1        Filed 11/01/24        Page 5 of 15
                                                                                      Fulton County Superior Court
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                                                                                              Che Alexander, Clerk


                                    "OORT OF FULTON COUNTY STATE
                 OFGEORGIA

Daraine Delevante.                                           )
                                                             )
Plain~                                                       )
                                                             )
                                                                                24CV012215
v.                                                           )       Case No.
                                                             )
TRANS UNION LLC,                                             )
                                                             )
Defendant.                                                   )


               Plainti:.ff Daraine Delevante (''Plaintiff') as and for his Statement of Claim against

Defendant TRANS UNION LLC, alleges the following:

PRELIMINARY STATEMENT

       1.     This is ~ action for actual, statutory, and punitive damages, and costs brought

pursuant to the Fair Credit Reporting Act C'FCRA"), 15 U.S.C. § 1681, et seq.

JURISDICTION

       2.     This is an action to enforce liability under the FCRA.

       3.     This Court has jurisdiction under 15 U.S.C. § 1681p arid/or O.C.G.A § 15-10-2.

       4. . This Court has jurisdiction over Defendant TRANS UNION LLC ("Defendant'')
because Defendant is a resident of Fulton Counfy', Georgia.



                                               PARTIES

       5.     Daraine Delevante ("Plaintiff") is an individual.

       6.     Plaintiff is a natural person.

       7.     Plaintiff is a resident of Fulton County, Georgia.



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       8.      Plaintiff is a "consumer'' as defined by 15 U.S.C. § 1681a(c).

       9.      Plaintiff is an entrepreneur and the owner of several businesses.

       10.     Plaintiff relies on his credit rating for many personal and business transactions.
       11.     Upon information and belief, Defendant is a Domestic Limited Liability

Company organized under the laws of the State of Georgia on or about January 4,1999.

       12.     Upon information and belief, Defendant's Control Number with the Georgia

Secretary of State is K900660.

       13.     Upon information and belie~ Defendant's principal office address, as registered

with the Georgia Secretary ofS1ate, is 555 West Adams Street, Chicago, IL, 60661-3719, USA.

       14.     Upon information and beli~ Defendant's Registered Agent is Corporation

Service Company at 2 Sun Court, Suite 400, Peachtree Comers, GA, 30092, US.

       15.     Upon information and belief, Defendant is an entity which, for monetary fees,

dues, or subscriptions, regularly engages in whole or in part in the practice of assembling or

evaluating consumer credit information or other information on consumers for the purpose of

furnishing consumer reports to third parties, and which uses any means or facility of interstate

commerce for the purpose of preparing or finnishing consumer reports.

       16.     Defendant is a "consumer reporting agency" as defined by 15 U.S.C. § 168la(f).

       17.     Upon information and belie~ Defendant regularly engages in the practice of

assembling or evaluating, and maintaining, for the pmpose of furnishing consumer reports to '

third parties bearing on a consumer's credit worthiness, credit standing, or credit capacity, each

of the following regarding consumers residing nationwide: (1) public record information and/or

(2) credit account information ftom person who furnish that information regularly and in the

ordinary course of business.




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       18.     Upon information and belief, Defendant is a "consumer reporting agency that

compiles and maintains files on consumers on a nationwide basis" as defined by 15 U.S.C. §

168la(p).
                                             FACTS

       19.     On July 3rd 2024. Plaintiff sent dispute letter to Defendant, which disputed the

completeness and/or accuracy and permissible purpose of infonnation/ Inquires contained in

consumer reports conceming Plaintiff that were prepared and maintained by Defendant and

published by Defendant to third parties.

       20.     Plaintiff's dispute letters to Defendant were mailed on or about July 3rd 2024, via

•United States Postal Service Certified Mail, USPS Tracking# 9589 0710 5270 1877 4714 95

       21.     A true and correct copy of the U.S.P.S. mailing label, redacted dispute letters, and

electronic delivery confirmation proof are attached hereto and incorporated herein as Exhibit A.

       22.     Defendant received Plaintiff's dispute letters via mail on ,July 6 2024 at 5:3 7PM.

       23.     Defendant has prepared consumer reports concerning Plaintiff.

       24.     Defendant does not follow reasonable procedures to assure maximum possible

accuracy of the information concerning Plaintiff in the consumer reports prepared by Defendant

concerning Plaintiff.

       25.     Defendant :furnished PlaintiWs consumer report to perso~ without a permissible

purpose, see Exhibit B.

       26.     Defendant is in possession of the Plaintiff's home mailing address.

       27.     Defendant is in possession of Plaintiff's Identification & Social Security number.

       28.     Defendant is in possession notarized documents substantiating Plaintiff's identity.

       29.     Defendant is in possession of Plaintiff's telephone number.



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       30.     Defendant is in possession of Plaintiff's email address.
       31.     Defendant is in possession of Plaintiff's facsimile number.

       32.     Defendant can contact Plaintiff regarding information it intends to place in

consumer reports concerning Plaintiff as a procedure to assure maximum possible accuracy of

said information.

       33.     Defendant fails to contact Plaintiff regarding information it intends to place in

consumer reports concerning Plaintiff as a procedure to assure maximum possible accuracy of

said information.

       34.     Defendant can design and implement an electronic method to contact Plaintiff

regarding information it intends to place in consumer reports concerning Plaintiff as a procedure

to assure maximum possible accuracy of said information similar to what is uses for its

subscribers.

       35.     Defendant fails to design and implement an electronic method to contact Plaintiff

regarding information it intends to place in consumer reports concerning Plaintiff as a procedure

to assure maximum possible accuracy of said information similar to what is uses for its

subscribers in order to save costs.

       36.     Defendant fails to design and implement an electronic method to contact Plaintiff

regarding information it intends to place in consumer reports concerning Plaintiff as a procedure

to assure maximum possible accuracy of said information similar to what is uses for its

subscribers because Defendant does not see assuring the maximum possible accuracy of

consumer reports as_ a priority to its business model.

       37.     Defendant fails to design and impleinent an electronic method to contact Plaintiff

regarding information it intends to place in consumer reports concerning Plaintiff as a procedure




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to assure maximum possible accuracy of said information similar to what is uses for its

subscn"bers because Defendant's business model is focused on profit on subscription fees from

its subscribers.

        38.        Defendant sees violating consumers by not assuring accurate consumer reports as

a cost of doing business aruL thus, sets aside a sum of money to "pay off'' consumers that it

violates.

       39.         Defendant intentionally failed to verify and or certify the purpose to furnish

consumer reports using [15 U.S.C §1681b(a)3(t)(i);

A person shall not use or obtain a consumer report for any purpose unless;
    1. The consumer report is obtained for a purpose for which the consumer report is
       authorized to be :furnished under this section.
    2. The purpose is certified in accordance with section 168lb(t). Chester v. Purvis, 260 F.
       Supp 2d 711 (S.D. Ind. 2003). •


                      41. Defendant intentionally failed to follow reasonable procedures to assure

              maximum possible accuracy of the information concerning Plaintiff that Defendant

              prepared and published.

                      42. Defendant negligently miled to follow FCRA 15 USC 1681b requirements

              for furnishing consumer reports to a person without a legitimate business reason.

                      43. Defendant failed to certify the purpose for which the consumer report was

              being furnished.

                      44. Defendant .knowingly furnished Plaintiff's consumer reports to a person

              without any permissible purpose.




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            45. Defendant knowingly aided the procurement of Plaintiff's consumer

     reports to a person under false pretenses which constitutes aggravated identity theft.

     15 USC 1681q, 15 USC 1681n(a), 18 USC 1028A
            46. Defendant failed to keep plaintiff's information private 15 USC 1681(a)(4)

            47. Upon receiving Plaintiff's dispute letters on July 6fh 2024 at 5:37 PM,

     TRANS UNION LLC intentionally failed to investigate the information disputed

     within 30 days of receipt of Plaintiff's disputes.

            48. Upon receiving Plaintiff's dispute letters on July 61h 2024 at 5:37PM,

     TRANS UNION LLC negligently failed to investigate the information disputed

     within 30 days of receipt ofPlaintiff's disputes.

            49. Upon receiving Plaintiff's dispute letters on July 6'112024 at 5:37PM,

     TRANS UNION LLC intentionally miled to delete the information disputed within

     30 days of receipt of Plaintiff's disputes.

             SO. Upon receiving Plaintiff's dispute letters on July 61h 2024 at 5:37PM,

     Equifax negligently :failed to delete the informati9n disputed within 30 days of receipt

     of Plaintiff's disputes.

             51. Upon Plaintiff's request for deletion and proof of permissible purpose

     documentation of the inaccurate inquires identified in consumer reports prepared,

     maintained, and published by Defendant concerning Plaintift Defendant did not

     evaluate or consider any of Plaintiff's information, claims, or request for proof of

     permismole purpose and did not made any attempt to substantially or reasonably

     reinvestigate the disputed information as required by the FCRA, including 1S U.S.C.

     § 1681i.



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                   54. Defendant failed to reinvestigate plaintiff's dispute and responded with

           stall tactics in order to deceive Plaintiff: Defendant bas an obligation by law to

           investigate plaintiff's dispute Cushman v. Trans Union.
The Third Circuit stated in this 1997 decision:
The "grave responsibilitfy]" imposed by [§6ll(a)] must consist of something more than
merely parroting information received from other sources. Therefore~ a "reinvestigation"
that merely shifts the burden back to the consumer and the credit grantor cannot fu.Ifill the
obligations contemplated by the statute. (emphasis added). Henson v. CSC Credit Servs.,
29 F.3d 280 (7th Cir. 1994).


                   SS. Plaintiff in its dispute letters to Defendant that are the subject of this action
           requested no permisstole purpose was given, Defendant -furnished Plaintiff's
           consumer reports knowingly without a permissible purpose. A person shall not use or
           obtain a consumer report for any purpose unless The purpose is certified in
           accordance with section 1681b(f). Chesterv. Purvis, 260 F. Supp 2d 711 (S.D. Ind.
           2003).

                   S6. To date, Defendant has not provided Plaintiff with Proof that permissible

           purpose was given the purpose is certified in accordance with section 168lb(f).

           Chester v. Purvis, 260 F. Supp 2d 711 (S.D. Ind. 2003).

                  57. Plaintiff has spent significant time and effort working to resolve these
           issues with TRANS UNION LLC.

                   58. Plaintiff's time spent dealing with these issues with TRANS UNION LLC

           costs Plaintiff time away from work that he has to do at the billable rate of $500 per

           hom.

                  59. Plaintiff has had to spend money and incur costs for mailing
           correspondence to TRANS UNION LLC.

                   60. Furthermore, Plaintiff.;has been upset, distressed, and worried about these

           issues with TRANS UNION LLC.




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             61. Plaintiff has lost credit opportunities and been denied credit applications

     due to the consumer reports about him that are prepared, maintained, and published

     by TRANS UNION LLC.
             62. Many ~ditors that Plaintiff attempt to do business with for personal

     credit transactions utili7.ed consumer reports from TRANS UNION LLC.

             63. Plaintiff has been denied credit applications due to lowered FICO scores

     due to wrongful credit reporting of certain items by Defendant in consumer files

     concerning Plaintiff.



                             FIRST CLAIM FOR RELIEF

             64. Plaintiff realleges and incorporates paragraphs 1 through 67 above as if

     fully set out herein.

             65. TRANS UNION LLC violated 1S U.S.C §1681b(a)3(t)(i by failing to

     establish permissible purpose.

            66. TRANS UNION LLC bas allowed Plaintiffs consumer reports to be

     furnished knowingly without a permissible purpose.

             67. As a result of Defendant's conduct, action, and inaction, Plaintiff suffered

     damage by expended costs and expenses in dealing with these issues, loss of credit,

     loss of ability to pmchase and benefit from credit, and mental and emotional pain and

     anguish and humiliation and embarrassment of credit denials.

            68. Defendant's conduct, actio~ and/or inaction was willful, rendering

     Defendant liable for Civil Liabilities for willful non compliance, pursuant 15 USC




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       §l681n(a)(l)(B), punitive damages in an amount to be determined by the Court

       pursuant to 15 U.S.C. § 1681n.

                69. In the alternative, Defendant's conduct, action, and/or inaction was
       negligent, entitling Plaintiff to recover under 1S U.S.C. § 16810.

                70. Plaintiff is entitled to recover costs and attorney's fees from Defendant in

       an amount to be determined by the Comt pursuant to 15 U.S.C. § 1681n and/or

       16810.

                               SECOND CLAIM FOR RELIEF

                71. Plaintiff realleges and incorporates paragraphs 1 through 70 above as if

       fully set out herein.

3. TRANS UNION LLC Violated 15 USC §l68l(a)(4) Plaintiff's right to privacy on multiple
    occasions by :furnishing Plaintiffs consumer reports to without a permissible purpose.
    Failing to delete inaccurate information in Plaintiff's consumer report or credit file after
    receiving actual notice of such inaccuracies; by failing to conduct a lawful reinvestigation
    and send required proof of the certification in accordance with section §1681b(f). Chester
    v. Purvis, 260 F. Supp 2d 711 (S.D. Ind. 2003); by failing to forward all relevant
    information to the respective alleges furnishers of the information to Defendant
    concerning Plaintiff; by failing to maintain reasonable procedures with which to filter and
    verify disputed information in Plaintiff's consumer report or credit file; by relying upon
    verification from a third party source that Defendant has reason to know or should have
    reason to know is unreliable.
                76. As a result of Defendant's conduct, action, and inaction, Plaintiff suffered

       damage by expended costs and expenses in dealing with these issues, loss of credii

       loss of ability to purchase and benefit from credit, and mental and emotional pain and

       anguish and humiliation and embarrassment of credit denials.




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                     77. Defendant's conduct, action, and/or inaction was willful, rendering

            Defendant liable for punitive damages in an amount to be determined by the Court

            pursuant to 15 U.S.C. § 1681n.

                     78. In the alternative, Defendant's conduct, actio~ and/or inaction was

            negligent, entitling Plaintiff to recover Civil Liability relief under 15 U.S.C. § 16810.

                     79. Plaintiff is entitled to recover costs and attorney's fees from Defendant in

            an amount to be determined by the Court pursuant to 15 U.8.C. § 1681n and/or

            16810.

WHEREFORE, Plaintiff demands judgment in favor of Plaintiff Daraine Delevante against

Defendant TRANS UNION LLC for said claims in the principal amount of $61,000.00, for

statutory, actual, and punitive damages under the FCRA, pre-judgment and post-judgment

interest at the legal rate, $60.00 costs to date, all future costs of this suit, and such other relief the

Court does deem just, equitable and proper.



STATE OF GEORGIA                )
                                )
FULTON COUNTY                   )

       I, Daraine Delevante, swear that the foregoing is a just and true statement of the amount

owing by Defendant to Plaintift exclusive of all set-offs and just grounds of defense.


       By affixing this verificatio~ oath, or affidavit to the pleading submitted to the court and
                                    I




attaching my signature hereon, I do hereby swear or affirm that the statements set forth in the

above pleading are true and correct




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Dated: September 2.6, 2024
                                         Daraine Delevante
                                            360 Pharr Rd NE APT 114 ATL GA, 30305
                                         Tel: 347-8S2-0294
                                         Fax:N/A
                                         Email: daraine_delevante@yahoo.com
                                         PLAINTIFF (pro se)




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